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                                                                     October 3, 2023


       VIA ELECTRONIC FILING

       The Honorable Gregory B. Williams
       United States District Court for the District of Delaware
       844 North King Street, Unit 26
       Wilmington, DE 19801-3555


                RE:     Acadia Pharms. Inc. v. Aurobindo Pharma Limited, et al.,
                        C.A. No. 22-1387-GBW (D. Del.) – Markman Hearing

       Dear Judge Williams:

               Pursuant to Paragraph 9 of the Scheduling Order (D.I. 16), we write on behalf of the
       parties regarding the claim construction hearing scheduled for December 19, 2023 at 1:00 p.m. in
       this matter.

               Live Testimony: Plaintiff does not believe that live testimony is necessary, but seeks
       leave to present a witness/witnesses if Defendants are granted leave to present Dr. R. Christian
       Moreton.

              Defendants request leave to present Dr. R. Christian Moreton, who is an expert in the
       pharmaceutical industry and in formulating drug products, and who has submitted a Declaration
       in support of Defendants’ Responsive Claim Construction Brief served today. Defendants
       believe live testimony from Dr. Moreton would be helpful to the Court’s consideration of the
       disputed claim terms in this case.

              If leave is granted and a party intends to present a witness live, the parties agree that all
       such witnesses will be made available for a deposition on a mutually agreeable date between
       November 21 and December 12, 2023.

               Hearing Length and Time Allocation: The parties request that three hours be allocated
       for the hearing, with one and a half hours allocated to each side.




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                              Courier Address: 1 2 0 1 N o r t h M a r k e t S t r e e t , S u i t e 2 3 0 0 W i l m i n g t o n , D E 1 9 8 0 1

CALIFORNIA DELAWARE FLORIDA ILLINOIS MARYLAND MASSACHUSETTS MINNESOTA NEW JERSEY NEW YORK PENNSYLVANIA WASHINGTON, DC
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                                     Respectfully,

                                     /s/ Michelle C. Streifthau-Livizos

                                     Michelle C. Streifthau-Livizos (#6584)


cc: Clerk of the Court (via hand delivery)
    All Counsel of Record (via CM/ECF and e-mail)




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